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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

GLORIA KERR,                            :

      Plaintiff                         :
                                                  CIVIL ACTION FILE
vs.                                     :
                                                  NO.:    3:15-cv-28-TCB
CHELSEA KERR RICHMOND                   :

                                        :
      Defendant


                     PLAINTIFF’S RESPONSE TO
          MOTION TO AMEND THE ORDER ON JAMES CLIFTON’S
            AMENDED MOTION FOR EXPENSES OF RECEIVER

      COMES NOW Plaintiff, and for her Response to Motion to Amend the Order

on James Clifton’s Amended Motion for Expenses of Receiver and respectfully

requests the Court to DENY James Clifton’s Motion to Amend the Order on James

Clifton’s Amended Motion for Expenses of Receiver. In support of this instant

Response, Plaintiff relies upon the evidence of record and her Brief in Support of

Plaintiff’s Response to Motion to Amend Order on James Clifton’s Amended Motion

for Expenses of Receiver.

      WHEREFORE, Plaintiff respectfully prays that this Court DENY the Motion to

Amend Order on James Clifton’s Amended Motion for Expenses of Receiver.



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        This 6th day of December, 2016.



                                          Respectfully submitted,

                                          /s/Jason G. Smith

                                          _____________________________
                                          Jason G. Smith
                                          GA Bar No. 237877
SOUTHERN PIEDMONT LAW, PC                 ATTORNEY FOR PLAINTIFF
22 West Court Square,
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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

GLORIA KERR,                              :

      Plaintiff                           :
                                                    CIVIL ACTION FILE
vs.                                       :
                                                    NO.:    3:15-cv-28-TCB
CHELSEA KERR RICHMOND                     :

                                          :
      Defendant


                           CERTIFICATE OF SERVICE

      I hereby certify that on the date below, I electronically filed Plaintiff’s

Response to Motion to Amend Order on James Clifton’s Amended Motion for

Expenses of Receiver with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the following, and Plaintiff

transmitted said document via email and U.S. Postal Service to the following:

                                  James Clifton, Esq.

                          james.clifton@cliftonlawfirm.com



                                  Chelsea Richmond

                          Chelsea.K.Richmond@gmail.com

                                     123 Daisey Ln

                                   Justin, TX 76247
                                      _____________
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This 6th day of December, 2016.




                                  Respectfully submitted,

                                  /s/ Jason G. Smith

                              __________________________
                              Jason G. Smith
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                              ATTORNEY FOR PLAINTIFF
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